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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  ALEJANDRO ESPINOZA,                                          CASE NO.

         Plaintiff,

  vs.

  YETI COOLERS, LLC.,
  a Foreign Limited Liability Company,
  D/B/A YETI,

        Defendant.
  ____________________________________________/

                          COMPLAINT FOR DECLARATORY AND
                      INJUNCTIVE RELIEF, AND JURY TRIAL DEMAND

         Plaintiff, ALEJANDRO ESPINOZA, through undersigned counsel, sues Defendant, YETI

  COOLERS, LLC., a foreign limited liability company d/b/a YETI (hereinafter referred to as

  “YETI”), for declaratory and injunctive relief, and damages, and alleges as follows:

  This action is brought under Title III of the Americans with Disabilities Act (“ADA”), that is

  codified in 42 U.S.C. §§12181-12189.

  1)     This action is also brought pursuant to 28 C.F.R. Part 36.

  2)     This Court has jurisdiction over this case based on federal question jurisdiction, as provided

  in 28 U.S.C. §1331 and the provisions of the ADA.

  3)     Furthermore, because this Court has jurisdiction over the ADA claim, the Court has

  supplementary jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

  4)     Plaintiff is sui juris, and he is disabled as defined by the ADA and ADA Amendments Act

  of 2008, 42 U.S.C. §12101 (“ADAAA”).

  5)     Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.


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  6)     Plaintiff desires to prevent discrimination and demands equal access to Defendant’s

  internet website to purchase a mug.

  7)     Plaintiff also seeks declaratory and injunctive relief for trespass against the Plaintiff’s

  computer. The computer is Plaintiff’s personal property, and a claim for trespass attached to same.

  8)     The Defendant is also liable for compensatory damages to Plaintiff as a result of the

  trespass to Plaintiff’s personal property.

  9)     The remedies provided under common law for trespass are not exclusive, and same may

  be sought in connection with suits brought under the ADA.

  10)    Venue is proper in the Southern District of Florida, Miami-Dade Division, since all events,

  actions, injuries, and damages complained of herein occurred in the Southern District of Florida.

  11)    Furthermore, Plaintiff is a resident of Miami-Dade County which falls within the Miami

  Division of the Southern District of Florida.

  12)    At all relevant times, Plaintiff is and was visually impaired and has Leber Congenital

  Amaurosis since birth that substantially impairs Plaintiff’s vision whereby his vision fluctuates

  from 20/250 to 20/800.

  13)    Plaintiff’s visual impairment interferes with his day-to-day activities and causes limitations

  in visualizing his environment. As such, Plaintiff is a member of a protected class under the ADA,

  42 U.S.C. § 12102(1) - (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

  et seq., and in 42 U.S.C. 3602, §802(h).

  14)    In addition, Plaintiff is an advocate of the rights of similarly situated disabled persons. As

  such is a “tester” for the purposes of asserting his civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and/or their respective and associated




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  websites are in compliance with the ADA and any other applicable disability laws, regulations,

  and ordinances.

  15)    Plaintiff is limited in the performance of major life activities due to his visual disability

  and he requires assistive technologies, auxiliary aids, and services for effective communication,

  including communication in connection with his use of a computer.

  16)    Plaintiff uses the computer regularly, but due to his visual disability, Plaintiff cannot use

  his computer without the assistance of appropriate and available auxiliary aids, screen reader

  software, and other technology and assistance. In order to assist him, Plaintiff uses NVDA screen

  reader software that is readily available commercially. As background, screen reader software

  translates the visual internet into an auditory equivalent. The software reads the content of a

  webpage to the user at a rapid pace.

  17)    “The screen reading software uses auditory cues to allow a visually impaired user to

  effectively use websites. For example, when using the visual internet, a seeing user learns that a

  link may be ‘clicked,’ which will bring him to another webpage, through visual cues, such as a

  change in the color of the text (often text is turned from black to blue). When the sighted user's

  cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

  software uses auditory -- rather than visual -- cues to relay this same information. When a sight

  impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

  and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

  read aloud by the screen reader, the visually impaired user can navigate a website by listening and

  responding with his keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

  6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).




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  18)    Plaintiff frequently accesses the internet. Because he is significantly and permanently

  visually disabled, to effectively communicate and comprehend information available on the

  internet and thereby access and comprehend websites, Plaintiff uses commercially available screen

  reader software to interface with the various websites.

  19)    Defendant, YETI, is a foreign limited liability company authorized to do business and

  doing business in the State of Florida.

  20)    Defendant, YETI, is a company that sells coolers, drinkware, bags, cargo, and apparel.

  There is a retail location in Miami-Dade County.

  21)    At all times material hereto, Defendant was and still is a private entity which owns and

  operates retail locations under the brand name “YETI”. The stores are open to the public, and each

  of Defendant’s locations is defined as a “public accommodation" within the meaning of Title III

  of the ADA because Defendant is a private entity which owns and/or operates “[A] bakery, grocery

  store, clothing store, hardware store, shopping center, or other sales or rental establishment,” per

  42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

  22)    Because Defendant is a store open to the public, each of Defendant’s physical stores is a

  place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(B), and its implementing regulations, 28 C.F.R. Part 36.

  23)    At all times material hereto, Defendant was and still is an organization owning and

  operating the website located at https://www.yeti.com/. Since the website is open through the

  internet to the public as an extension of the retail stores, by this nexus the website is an intangible

  service, privilege and advantage of Defendant’s brick and mortar locations, the Defendant has

  subjected itself and the associated website it created and maintains to the requirements of the ADA.

  The website also services Defendant’s physical stores by providing information on its brand and


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  other information that Defendant is interested in communicating to its customers about its physical

  locations.

  24)    Since the website allows the public the ability to view the products available at Defendant’s

  locations, purchase products, through Defendant’s website, subscribe to Defendant’s newsletter,

  create an account and register to track orders, create a wish list, and learn the story behind

  Defendant’s brand, the website is an extension of, and gateway to, Defendant’s physical stores

  which are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E). By this nexus

  between Defendant’s retail store locations and the Website, and the fact that the Website clearly

  provides support for and is connected to Defendant’s stores for its operation and use, the Website

  is an intangible service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

  comply with all requirements of the ADA. The Website must not discriminate against individuals

  with disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages as afforded the non-visually disabled

  public both online and in the physical stores, which are places of public accommodations subject

  to the requirements of the ADA.

  25)    Plaintiff sought to, seeks to and intends to patronize, in the near future once the Website’s

  access barriers are removed or remedied, one or more of Defendant’s physical retail locations,

  check store hours and product pricing and place online orders. In the alternative, Plaintiff intends

  to monitor the Website in the near future as a tester to ascertain whether it has been remedied and

  updated to interact properly with screen reader software.

  26)    Traveling outside of his home as a visually disabled individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience, thus the opportunity to shop and pre-

  shop Defendant’s products, plan his visits, and to compare products, services, prices, sales,


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  discounts, and promotions are important and necessary accommodations for Plaintiff because

  Defendant has not provided its business information in any other digital format that is accessible

  for use by blind and visually disabled individuals using screen reader software.

  27)    During the month of March 2024, Plaintiff attempted on a number of occasions to utilize

  the Website to browse through the merchandise and online offers to educate himself as to the

  merchandise, sales, discounts, and promotions being offered, learn about the brick-and-mortar

  location, check store hours, and check product pricing with the intent to make a purchase through

  the Website or in one of the physical locations and with the intent to make a purchase through the

  website or at one of Defendant’s physical stores. Plaintiff also attempted to access and utilize the

  Website in his capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as himself who use screen reader software to access and navigate company

  websites.

  28)    Plaintiff utilized NVDA (“Screen Reader Software”) that allows individuals who are blind

  and visually disabled to communicate with websites. However, Defendant’s Website contains

  access barriers that prevent free and full use by blind and visually disabled individuals using

  keyboards and available screen reader software. Plaintiff attempted to purchase clothing on

  Defendant’s website. However, the Plaintiff was not able to freely and fully use Defendant’s

  website because it contains access barriers that make it inaccessible to persons with disabilities,

  and for which there is no reasonable accommodation for the Plaintiff.

  29)    Defendant’s Website contains access barriers that prevent free and full use by blind and

  visually disabled individuals using keyboards and available screen reader software. These barriers

  are pervasive and include, but are not limited to:




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        Yeti

        System settings while doing the review:

        Operating system: Windows 11

        Browser: Google Chrome v. 119.0.6045.124

        Screen Reader: NVDA v. 2023.3



        Barriers

        User cannot Operate the Get Free Shipping Modal

        User cannot navigate without distraction

        User cannot operate the Store Locator

        User cannot operate navigation menu

        User cannot determine the purpose of the Account and Menu buttons

        User cannot operate the Account modal

        User cannot operate the Menu modals

        User cannot operate product filters

        User cannot choose a size during Add to Bag

        User cannot operate the Add to Bag modal

        User cannot estimate the delivery date

        User cannot sign in during checkout

        User cannot create an account during checkout

        User cannot checkout as guest

        User cannot provide shipping details




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        Violation 1: 1.3.2 Meaningful Sequence


        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.


        When the user tries to navigate to the Get Free Shipping Modal modal, the user is

        allowed to navigate the entire website without closing the modal, therefore the

        meaningful sequence is not preserved. The user is not able to close the Get Free Shipping

        Modal modal.


        Applicable WCAG 2.1 Standard at Issue:1.3.2 Meaningful Sequence (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1Pp_jnAmuklF_46DbG8cQvIVnmcCfz8Jw/view?usp=dri

        ve_link




        Violation 2: 2.4.3 Focus Order


        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.




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        When the user tries to navigate the site and close the Get Free Shipping Modal popup

        modal that is displayed, the focus order cannot be navigated in a sequential order to

        preserve operability. The user is not able to operate or close the Get Free Shipping Modal

        modal.


        Applicable WCAG 2.1 Standard at Issue:2.4.3 Focus Order (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1Pp_jnAmuklF_46DbG8cQvIVnmcCfz8Jw/view?usp=dri

        ve_link




        Violation 3: 1.4.3 Contrast (Minimum)


        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,

        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.




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        When the user tries to navigate the site and the Get Free Shipping Modal popup modal is

        displayed, because the meaningful sequence is not met and the user cannot close the

        modal, there is content that is not visible (below the contrast ratio minimum), when it is

        behind the Get Free Shipping Modal popup. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1Pp_jnAmuklF_46DbG8cQvIVnmcCfz8Jw/view?usp=dri

        ve_link




        Violation 4: 2.2.2 Pause, Stop, Hide


        For moving, blinking, scrolling, or auto-updating information, all of the following are

        true: Motion Animation: For any moving, blinking or scrolling information that (1) starts

        automatically, (2) lasts more than five seconds, and (3) is presented in parallel with other

        content, there is a mechanism for the user to pause, stop, or hide it unless the movement,

        blinking, or scrolling is part of an activity where it is essential; and Auto-updating: For

        any auto-updating information that (1) starts automatically and (2) is presented in parallel

        with other content, there is a mechanism for the user to pause, stop, or hide it or to



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        control the frequency of the update, unless the auto-updating is part of an activity where

        it is essential.


        When the user opens the website, the Hello Bar content starts playing automatically and

        lasts more than five seconds, but there is no control to pause, stop, or hide the animation.

        The user is not able to navigate the site without a constant distraction.


        Applicable WCAG 2.1 Standard at Issue:2.2.2 Pause, Stop, Hide (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/112iRBihWrckIda0aY9XL4lrk3PaB3TjO/view?usp=drive

        _link




        Violation 5: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Find a Store and does not input a Location, there is no message to

        identify the error. The user is not able to Find a Store.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)



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        URL Where Issue Was Encountered:


        https://www.yeti.com/find-a-store#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1N5ZSM-

        Gv1kySAkns_fbuLRsew8VBBM6g/view?usp=drive_link




        Violation 6: 1.4.3 Contrast (Minimum)


        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,

        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.


        When the user tries to navigate the site, the website has a display issue and the contrast of

        the background color and Navigation Menu is below the minimum contrast ratio. The

        user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)


        URL Where Issue Was Encountered:


        https://www.yeti.com/

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        Screen Capture Evidence:


        https://drive.google.com/file/d/1pA4BVQmGfHEfU720jWB9Hyraa2v9Dzn4/view?usp=

        drive_link




        Violation 7: 2.4.4 Link Purpose (In Context)


        The purpose of each link can be determined from the link text alone or from the link text

        together with its programmatically determined link context, except where the purpose of

        the link would be ambiguous to users in general.


        When the user tries to use Navigation Menu, the link label provided does not properly

        describe the purpose of the link. The user is not able to understand the purpose of the link

        and is not able to use Navigation Menu.


        Applicable WCAG 2.1 Standard at Issue:2.4.4 Link Purpose (In Context) (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1pA4BVQmGfHEfU720jWB9Hyraa2v9Dzn4/view?usp=

        drive_link




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        Violation 8: 2.4.4 Link Purpose (In Context)


        The purpose of each link can be determined from the link text alone or from the link text

        together with its programmatically determined link context, except where the purpose of

        the link would be ambiguous to users in general.


        When the user tries to use Navigation Menu, the link label provided does not properly

        describe the purpose of the link. The user is not able to understand the purpose of the link

        and is not able to use Navigation Menu.


        Applicable WCAG 2.1 Standard at Issue:2.4.4 Link Purpose (In Context) (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1pA4BVQmGfHEfU720jWB9Hyraa2v9Dzn4/view?usp=

        drive_link




        Violation 9: 1.3.2 Meaningful Sequence


        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.




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        When the user tries to navigate to the Account Modal modal, the user is allowed to

        navigate the entire website without closing the modal, therefore the meaningful sequence

        is not preserved. The user is not able to close the Account Modal modal.


        Applicable WCAG 2.1 Standard at Issue:1.3.2 Meaningful Sequence (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1OLGQrbhyUhsSUnXsA9GV6A6lnfFQAG6x/view?usp=

        drive_link




        Violation 10: 2.4.3 Focus Order


        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.


        When the user tries to navigate the site and close the Account Modal popup modal that is

        displayed, the focus order cannot be navigated in a sequential order to preserve

        operability. The user is not able to operate or close the Account Modal modal.


        Applicable WCAG 2.1 Standard at Issue:2.4.3 Focus Order (Level A)




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        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1OLGQrbhyUhsSUnXsA9GV6A6lnfFQAG6x/view?usp=

        drive_link




        Violation 11: 1.4.3 Contrast (Minimum)


        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,

        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.


        When the user tries to navigate the site and the Account Modal popup modal is displayed,

        because the meaningful sequence is not met and the user cannot close the modal, there is

        content that is not visible (below the contrast ratio minimum), when it is behind the

        Account Modal popup. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)


        URL Where Issue Was Encountered:


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        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1OLGQrbhyUhsSUnXsA9GV6A6lnfFQAG6x/view?usp=

        drive_link




        Violation 12: 1.3.2 Meaningful Sequence


        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.


        When the user tries to navigate to the Menu Modal modal, the user is allowed to navigate

        the entire website without closing the modal, therefore the meaningful sequence is not

        preserved. The user is not able to close the Menu Modal modal.


        Applicable WCAG 2.1 Standard at Issue:1.3.2 Meaningful Sequence (Level A)


        URL Where Issue Was Encountered:


        Https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1jD5Cm3aZzQxhzIDhohCPyTmRRM05Ewct/view?usp=

        drive_link




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        Violation 13: 2.4.3 Focus Order


        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.


        When the user tries to navigate the site and close the Menu Modal popup modal that is

        displayed, the focus order cannot be navigated in a sequential order to preserve

        operability. The user is not able to operate or close the Menu Modal modal.


        Applicable WCAG 2.1 Standard at Issue:2.4.3 Focus Order (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1jD5Cm3aZzQxhzIDhohCPyTmRRM05Ewct/view?usp=

        drive_link




        Violation 14: 1.4.3 Contrast (Minimum)


        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,

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        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.


        When the user tries to navigate the site and the Menu Modal popup modal is displayed,

        because the meaningful sequence is not met and the user cannot close the modal, there is

        content that is not visible (below the contrast ratio minimum), when it is behind the Menu

        Modal popup. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)


        URL Where Issue Was Encountered:


        https://www.yeti.com/


        Screen Capture Evidence:


        https://drive.google.com/file/d/1jD5Cm3aZzQxhzIDhohCPyTmRRM05Ewct/view?usp=

        drive_link




        Violation 15: 2.1.1 Keyboard


        All functionality of the content is operable through a keyboard interface without requiring

        specific timings for individual keystrokes, except where the underlying function requires

        input that depends on the path of the user's movement and not just the endpoints.


        When the user tries to filter products, the product filters link is not operable through a

        keyboard interface. The user is not able to operate the site.

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        Applicable WCAG 2.1 Standard at Issue:2.1.1 Keyboard (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/coolers#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1PM1_vp3zfvo620lR5KmuGcy9aw8bnaFf/view?usp=dri

        ve_link




        Violation 16: 2.1.1 Keyboard


        All functionality of the content is operable through a keyboard interface without requiring

        specific timings for individual keystrokes, except where the underlying function requires

        input that depends on the path of the user's movement and not just the endpoints.


        When the user tries to Change product size, the product size field link is not operable

        through a keyboard interface. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:2.1.1 Keyboard (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/coolers/hard-coolers/roadie/10023390000.html


        Screen Capture Evidence:




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        https://drive.google.com/file/d/1c36NQIz2yvLSWepp71ESqv-

        TsjzsFtut/view?usp=drive_link




        Violation 17: 1.3.2 Meaningful Sequence


        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.


        When the user tries to navigate to the Add to Bag modal, the user is allowed to navigate

        the entire website without closing the modal, therefore the meaningful sequence is not

        preserved. The user is not able to close the Add to Bag modal.


        Applicable WCAG 2.1 Standard at Issue:1.3.2 Meaningful Sequence (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/coolers/hard-coolers/roadie/10023390000.html#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1d0_l5PYd4jmOVB98znMz5SOe7h0fQxff/view?usp=dri

        ve_link




        Violation 18: 2.4.3 Focus Order




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        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.


        When the user tries to navigate the site and close the Add to Bag popup modal that is

        displayed, the focus order cannot be navigated in a sequential order to preserve

        operability. The user is not able to operate or close the Add to Bag modal.


        Applicable WCAG 2.1 Standard at Issue:2.4.3 Focus Order (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/coolers/hard-coolers/roadie/10023390000.html#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1d0_l5PYd4jmOVB98znMz5SOe7h0fQxff/view?usp=dri

        ve_link




        Violation 19: 1.4.3 Contrast (Minimum)


        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,




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        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.


        When the user tries to navigate the site and the Add to Bag popup modal is displayed,

        because the meaningful sequence is not met and the user cannot close the modal, there is

        content that is not visible (below the contrast ratio minimum), when it is behind the Add

        to Bag popup. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)


        URL Where Issue Was Encountered:


        https://www.yeti.com/coolers/hard-coolers/roadie/10023390000.html#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1d0_l5PYd4jmOVB98znMz5SOe7h0fQxff/view?usp=dri

        ve_link




        Violation 20: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a shipping to, there is no message to

        identify the error. The user is not able to Checkout.




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        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/cart#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/119kU5pJuouaBtngHh6_5arQZvNem11RY/view?usp=dri

        ve_link




        Violation 21: 3.3.2 Labels or Instructions


        Labels or instructions are provided when content requires user input.


        When the user tries to Sign In, there is not a proper label identifying the Emaill Address

        input field. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:3.3.2 Labels or Instructions (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1D4pdB8YjQJ7y-

        Kmd7OVY7UAJV7EEPoSd/view?usp=drive_link



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        Violation 22: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Sign In and does not input a Email Address, there is no message to

        identify the error. The user is not able to Sign In.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1D4pdB8YjQJ7y-

        Kmd7OVY7UAJV7EEPoSd/view?usp=drive_link




        Violation 23: 3.3.2 Labels or Instructions


        Labels or instructions are provided when content requires user input.


        When the user tries to Sign In, there is not a proper label identifying the Password input

        field. The user is not able to operate the site.


        Applicable WCAG 2.1 Standard at Issue:3.3.2 Labels or Instructions (Level A)

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        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1D4pdB8YjQJ7y-

        Kmd7OVY7UAJV7EEPoSd/view?usp=drive_link




        Violation 24: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Sign In and does not input a Password, there is no message to

        identify the error. The user is not able to Sign In.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1D4pdB8YjQJ7y-

        Kmd7OVY7UAJV7EEPoSd/view?usp=drive_link




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        Violation 25: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Create an account and does not input a First Name, there is no

        message to identify the error. The user is not able to Create an account.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#customer


        Screen Capture Evidence:


        https://drive.google.com/file/d/12K1GJ1m80GCoa5MsG2pOnvvRAqo3q2DG/view?usp

        =drive_link




        Violation 26: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Create an account and does not input a Last Name, there is no

        message to identify the error. The user is not able to Create an account.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


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        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#customer


        Screen Capture Evidence:


        https://drive.google.com/file/d/12K1GJ1m80GCoa5MsG2pOnvvRAqo3q2DG/view?usp

        =drive_link




        Violation 27: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Check out and does not input a Email, there is no message to

        identify the error. The user is not able to Check out.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=customer#maincontent


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




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        Violation 28: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a First Name, there is no message to

        identify the error. The user is not able to Checkout.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=shipping#shipping


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




        Violation 29: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a Last Name, there is no message to

        identify the error. The user is not able to Checkout.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


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        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=shipping#shipping


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




        Violation 30: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a Address 1, there is no message to

        identify the error. The user is not able to Checkout.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=shipping#shipping


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




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        Violation 31: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a State, there is no message to

        identify the error. The user is not able to Checkout.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=shipping#shipping


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




        Violation 32: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a City, there is no message to identify

        the error. The user is not able to Checkout.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


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        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=shipping#shipping


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




        Violation 33: 3.3.1 Error Identification


        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.


        When the user tries to Checkout and does not input a Zip Code, there is no message to

        identify the error. The user is not able to Checkout.


        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


        URL Where Issue Was Encountered:


        https://www.yeti.com/checkout?stage=shipping#shipping


        Screen Capture Evidence:


        https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

        ve_link




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         Violation 34: 3.3.1 Error Identification


         If an input error is automatically detected, the item that is in error is identified and the

         error is described to the user in text.


         When the user tries to Checkout and does not input a Phone Number, there is no message

         to identify the error. The user is not able to Checkout.


         Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)


         URL Where Issue Was Encountered:


         https://www.yeti.com/checkout?stage=shipping#shipping


         Screen Capture Evidence:


         https://drive.google.com/file/d/1AqtfpDuvls6igPvV89LpPW03qL2Hr4ME/view?usp=dri

         ve_link


  30)    Although the Website appeared to have an “accessibility” statement displayed and an

  “accessibility” widget/plugin added, the “accessibility” statement and widget/plugin, when tested,

  still could not be effectively accessed by, and continued to be a barrier to, blind and visually

  disabled persons, including Plaintiff as a completely blind person. Plaintiff, although he attempted

  to access the statement, thus, was unable to receive any meaningful or prompt assistance through

  the “accessibility” statement and the widget/plugin to enable him to quickly, fully, and effectively

  navigate the Website.

  31)    The fact that Plaintiff could not communicate with or within the Website left him feeling

  excluded, as he is unable to participate in the same shopping experience, with the same access to

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  the merchandise, sales, discounts, and promotions, as provided at the Website and in the physical

  locations as the non-visually disabled public.

  32)     Plaintiff desires and intends, in the near future once the Website’s access barriers are

  removed or remedied, to patronize one or more of Defendant’s physical stores and to use the

  Website, but he is presently unable to do so as he is unable to effectively communicate with

  Defendant, due to his severe visual disability and the Website’s access barriers. Alternatively, as

  a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

  communicate with Defendant through the Website due to his severe visual disability and the

  Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

  disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

  policies, and practices as set forth herein unless properly enjoined by this Court.

  33)     On information and belief, Defendant has not initiated a Web Accessibility Policy to ensure

  full and equal use of the Website by individuals with disabilities.

  34)     On information and belief, Defendant has not instituted a Web Accessibility Committee to

  ensure full and equal use of Website by individuals with disabilities.

  35)     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

  36)     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

  37)     On information and belief, Defendant has not instituted a User Accessibility Testing Group

  to ensure full and equal use of the Website by individuals with disabilities.


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  38)    On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

  39)    On information and belief, Defendant has not instituted an Automated Web Accessibility

  Testing program.

  40)    Defendant has not created and instituted an effective Specialized Customer Assistance line

  or service or email contact mode for customer assistance for the visually disabled.

  41)    Defendant has not created and instituted on the Website a useful or accessible page for

  individuals with disabilities, nor displayed a link and information hotline, nor created an

  information portal explaining when and how Defendant will have the Website, applications, and

  digital assets accessible to the visually disabled or blind community.

  42)    The Website does not meet the Web Content Accessibility Guidelines (“WCAG”) 2.0

  Level AA or higher versions of web accessibility.

  43)    Defendant has not disclosed to the public any intended audits, changes, or lawsuits to

  correct the inaccessibility of the Website to visually disabled individuals who want the safety and

  privacy of purchasing Defendant’s products offered on the Website and in the physical stores from

  their homes.

  44)    Defendant thus has not provided full and equal access to and enjoyment of the goods,

  services, facilities, privileges, advantages, and accommodations provided by and through the

  Website and their physical stores in contravention of the ADA.

  45)    Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff.




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  46)     The broad mandate of the ADA is to provide an equal opportunity for individuals with

  disabilities to participate in and benefit from all aspects of American civic and economic life. That

  mandate extends to internet shopping websites such as the Website at issue in the instant action.

  47)     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with visual disabilities from the

  means to comprehend information presented therein.

  48)     Defendant is, and at all relevant times has been, aware of the need to provide full access to

  all visitors to the Website.

  49)     The barriers that exist on the Website result in discriminatory and unequal treatment of

  individuals with visual disabilities, including Plaintiff.

  50)     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

  hereinabove, and this suit for declaratory judgment and injunctive relief is his only means to secure

  adequate and complete redress from Defendant’s unlawful and discriminatory practices in

  connection with its website access and operation.

  51)     Notice to Defendant is not required because of Defendant’s failure to cure the violations.

  52)     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

  §§2201 and 2202.

  53)     Plaintiff has retained the undersigned attorneys to represent him in this case and has agreed

  to pay them a reasonable fee for their services.



  COUNT I – VIOLATION OF THE ADA

  54)     Plaintiff realleges paragraphs 1 through 53 as if set forth fully herein.




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  55)    Pursuant to 42 U.S.C. §12181(7)(B), Defendant is a public accommodation under the ADA

  and thus is subject to the ADA.

  56)    Pursuant to 42 U.S.C. §12181(7)(B), the Website is covered under the ADA because it

  provides the general public with the ability to view the products available at Defendant’s locations,

  purchase products through Defendant’s website, subscribe to Defendant’s newsletter, create an

  account and register to track orders, create a wish list, and learn the story behind Defendant’s

  brand. The Website thus is an extension of, gateway to, and intangible service, privilege, and

  advantage of Defendant’s physical locations. Further, the Website also serves to augment

  Defendant’s physical stores by providing the public information about the stores and by educating

  the public as to Defendant’s brand and available products merchandise sold through the Website

  and in the physical stores.

  57)    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful discrimination

  to deny individuals with disabilities or a class of individuals with disabilities an opportunity to

  participate in or benefit from the goods, services, facilities, privileges, advantages, or

  accommodation, which is equal to the opportunities afforded to other individuals.

  58)    Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

  59)    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps, as may be necessary to


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  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

  60)    The Website must comply with the ADA, but it does not as specifically alleged hereinabove

  and below.

  61)    Because of the inaccessibility of the Website, individuals with visual disabilities are denied

  full and equal access to and enjoyment of the goods, information, and services that Defendant has

  made available to the public on the Website and in their physical stores in violation of 42 U.S.C.

  §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

  62)    The Website was subsequently visited by Plaintiff’s expert in March and the expert

  determination was that the same access barriers that Plaintiff had initially encountered, as well as

  numerous additional access barriers, existed. Defendant thus has made insufficient material

  changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

  to, blind and visually disabled persons such as Plaintiff. Also, when the Website was visited by

  the expert, although the Website appeared to have an “accessibility” statement and widget/plugin

  linked on and displayed from its home page, the “accessibility” statement and widget/plugin, when

  tested, still could not be effectively used or accessed by, and continued to be a barrier to, blind and

  visually disabled persons such as Plaintiff. Defendant furthermore has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

  disabled individuals, nor has it posted on the Website an effective and useful “accessibility” notice,

  statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable


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  alternative means to access and navigate the Website. Defendant thus has failed to make reasonable

  modifications in its policies, practices, or procedures when such modifications are necessary to

  afford goods, services, facilities, privileges, advantages, or accommodations to individuals with

  disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility”

  notice, policy, or statement and the numerous access barriers as set forth in the Declaration of

  Plaintiff’s expert, Ryan Browne, attached hereto and the contents of which are incorporated herein

  by reference, continue to render the Website not fully accessible to users who are blind and visually

  disabled, including Plaintiff.

  63)    More violations may be present on other pages of the Website, which can and will be

  determined and proven through the discovery process in this case.

  64)    There are readily available, well-established guidelines on the internet for making Websites

  accessible to the blind and visually disabled. These guidelines have been followed by other large

  business entities in making their websites accessible. Examples of such guidelines include, but are

  not limited to, adding alt-text to graphics and ensuring that all functions can be performed using a

  keyboard. Incorporating such basic components to make the Website accessible would neither

  fundamentally alter the nature of Defendant’s business nor would it result in an undue burden to

  Defendant.

  65)    Defendant has violated the ADA -- and continue to violate the ADA -- by denying access

  to the Website by individuals such as Plaintiff with visual disabilities who require the assistance

  of interface with screen reader software to comprehend and access internet websites. These

  violations within the Website are ongoing.

  66)    The ADA requires that public accommodations and places of public accommodation

  ensure that communication is effective.


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  67)    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice, text, and

  video-based telecommunications products and systems”.           Indeed, 28 C.F.R.§36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

  68)    According to 28 C.F.R. §36.303(c), public accommodations must furnish appropriate

  auxiliary aids and services where necessary to ensure effective communication with individuals

  with disabilities: “In order to be effective, auxiliary aids and services must be provided in

  accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

  69)    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle A

  of Title III of the ADA, which prohibits discrimination on the basis of disability by public

  accommodations, and requires places of public accommodation to be designed, constructed, and

  altered in compliance with the accessibility standards established by Part 36.

  70)    As alleged hereinabove, the Website has not been designed to interface with the widely

  and readily available technologies that can be used to ensure effective communication, and thus

  violates the ADA.

  71)    As a direct and proximate result of Defendant’s failure to provide an ADA compliant

  Website, with a nexus to their brick-and-mortar stores, Plaintiff has suffered an injury in fact by

  being denied full access to, enjoyment of, and communication with Defendant’s Website and its

  physical stores.

  72)    Because of the inadequate development and administration of the Website, Plaintiff is

  entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.


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  73)    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  appropriate and necessary injunctive relief, including an order to:

          i.     Require Defendant to adopt and implement a web accessibility policy to make

          publicly available and directly link from the homepage of the Website to a functional

          statement as to the Defendant’s policy to ensure persons with disabilities have full and

          equal access to and enjoyment of the goods, services, facilities, privileges, advantages,

          and accommodations through the Website and the physical locations.

          ii.    Require Defendant to take the necessary steps to make the Website readily

          accessible to and usable by blind and visually disabled users, and during that time period

          prior to the Website’s being made readily accessible, provide an effective alternative

          method for individuals with visual disabilities to access the information available on the

          Website until such time that the requisite modifications are made, and

          iii.   Require Defendant to provide the appropriate auxiliary aids such that individuals

          with visual disabilities will be able to effectively communicate with the Website for

          purposes of viewing and locating Defendant’s stores and becoming informed of and

          purchasing Defendant’s products, and during that time period prior to the Website’s being

          designed to permit individuals with visual disabilities to effectively communicate, to

          provide an alternative method for individuals with visual disabilities to effectively

          communicate for such goods and services made available to the general public through

          the Website and the physical stores.

          iv.    Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

          pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned




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          counsel for the filing and prosecution of this action and has agreed to pay them a

          reasonable fee for their services.

  74)    WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         a.      A declaration that Defendant’s website is in violation of the ADA;

         b.      An Order requiring Defendant, by a date certain, to update its website, and continue

         to monitor and update its website on an ongoing basis, to remove barriers in order that

         individuals with visual disabilities can access, and continue to access, the website and

         effectively communicate with the website to the full extent required by Title III of the

         ADA;

         c.      An Order requiring Defendant, by a date certain, to clearly display the universal

         disabled logo within its website, wherein the logo 1would lead to a page which would state

         Defendant’s accessibility information, facts, policies, and accommodations. Such a clear

         display of the disabled logo is to ensure that individuals who are disabled are aware of the

         availability of the accessible features of the website;

         d.      An Order requiring Defendant, by a date certain, to provide ongoing support for

         web accessibility by implementing a website accessibility coordinator, a website

         application accessibility policy, and providing for website accessibility feedback to insure

         compliance thereto.




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        e.        An Order directing Defendant, by a date certain to evaluate its policies, practices

        and procedures toward persons with disabilities, for such reasonable time to allow

        Defendant to undertake and complete corrective procedures to its website;

        f.        An Order directing Defendant, by a date certain, to establish a policy of web

        accessibility and accessibility features for its website to insure effective communication

        for individuals who are visually disabled;

        g.        An Order requiring, by a date certain, that any third-party vendors who participate

        on Defendant’s website to be fully accessible to the visually disabled;

        h.        An Order directing Defendant, by a date certain and at least once yearly thereafter,

        to provide mandatory web accessibility training to all employees who write or develop

        programs or code for, or who publish final content to, Defendant’s website on how to

        conform all web content and services with ADA accessibility requirements and applicable

        accessibility guidelines;

        i.        An Order directing Defendant, by a date certain and at least once every three

        months thereafter, to conduct automated accessibility tests of its website to identify any

        instances where the website is no longer in conformance with the accessibility

        requirements of the ADA and any applicable accessibility guidelines, and further directing

        Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

        review.

        j.        An Order directing Defendant, by a date certain, to make publicly available and

        directly link from its website homepage, a statement of Defendant’s Accessibility Policy

        to ensure the persons with disabilities have full and equal enjoyment of its website and




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         shall accompany the public policy statement with an accessible means of submitting

         accessibility questions and problems.

         k.      An award to Plaintiff of his reasonable attorney’s fees and costs pursuant to in 42

         U.S.C. §§12181-12189, and pursuant to such other laws and statutes that may apply, and

         further relief as the Court deems just and equitable.



  COUNT II – TRESPASS

  Plaintiff realleges paragraphs 1 through 53 as if set forth herein.

  75)    Defendant’s website contains software analytics.               Since Plaintiff has navigated

  Defendant’s website as stated herein, Plaintiff’s computer and the personal information and

  browsing history stored therein, has suffered a trespass by Defendant.

  76)    Plaintiff never consented to and was unaware that Defendant’s website was placing

  software on his computer.

  77)    The “pop-up” or banner notice that appears on Defendant’s website does not properly

  audibilize the cookies policy in a way where a visually disabled person like the Plaintiff can

  properly understand or give informed consent to allow tracking cookies to be placed on his

  computer.

  78)    Defendant committed common law trespass in violation of Florida law against Plaintiff

  because Plaintiff did not consent to the placement of tracking and information securing software

  on his personal computer, which was done without his knowledge and consent.

  79)    Defendant’s trespass has damaged Plaintiff by affecting the condition and value of his

  computer.




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  80)    On its website, Defendant has an internet privacy policy section that can only be accessed

  by clicking a barely visible section at the bottom of the page called “Cookies Policy”, providing

  that they use cookies and similar technologies to collect a consumer’s information and they obtain

  non-public information from their users for their own advertising and marketing purposes by

  placing software on its website that collects a website user’s preferences and internet browsing

  habits as follows:

        COOKIES AND OTHER TRACKING TECHNOLOGIES


        Cookies and Other Tracking Technologies


        Cookies are files that are placed on your computer or mobile or handheld device (such as

        smartphones or tablets) when you visit certain pages on the internet or use certain mobile

        applications. They can be used to “remember” when your computer or device access this

        Site. Cookies are stored in your browser. The cookie will help the Site, or another

        website, to recognize your device the next time you visit. Most cookies won’t collect

        information like a name or email address that directly identifies you as a person and will

        instead be used in efforts such as collecting more general information such as how

        visitors arrive at and use a Site. Cookies may, however, be used to create a profile of the

        visitor's activities on the Internet, and they can contain unique identifiers or any form of

        personal information.


        Clear GIFs are tiny graphics with a unique identifier, similar in function to cookies. In

        contrast to cookies, which are stored on your device, clear GIFs are embedded invisibly

        on web pages. We may use clear GIFs (a.k.a. web beacons, web bugs, or pixel tags), in

        connection with our Site and with cookies to, among other things, track the activities of

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       Site visitors, help us manage content, compile statistics about Site usage (including clicks

       and cursor movements), and engage in targeted advertising. We and our third-party

       service providers also use clear GIFs in HTML emails we send, to help us with things like

       tracking email response rates, identifying when our emails are viewed, tracking whether

       our emails are forwarded, and customizing email or Site content.


       Categories of Cookies


       Our uses of such technologies usually fall into one of the following categories:


          •   Strictly Necessary Cookies. These cookies, which may be set by us or third-party

              providers, are necessary for the website to function, and we do not offer an option

              for them to be switched off. They are usually only set in response to actions made

              by you which amount to a request for services, such as setting your privacy

              preferences, logging in or filling in forms, or they may be set when you simply

              load a page. You can set your browser to block or alert you about these cookies,

              but some parts of the Site will not work if you block them.

          •   Performance Cookies. These cookies, which may be set by us or third-party

              providers, mainly allow us to count visits and traffic sources so we can measure

              and improve the performance of our Site. They help us to know which pages are

              the most and least popular and see how visitors move around the Site. If you block

              these cookies, we cannot use them to know when you have visited our Site and will

              be less able to monitor its performance.

          •   Functional Cookies. These cookies mainly enable the website to provide enhanced

              functionality and personalization. They may be set by us or by third-party

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                 providers whose services we have added to our pages. If you block these cookies,

                 then some or all of these services may not function properly.

            •    Targeting and Social Media Cookies. These cookies may be set through our Site

                 by or in collaboration with our advertising and social media partners. They may be

                 used by those companies mainly to build a profile of your interests and show you

                 relevant ads on other sites. If you block these cookies, you will experience less

                 targeted advertising.


  81)     Due to Plaintiff’s disability, he could not understand Defendant’s website and he could not

  give informed consent to Defendant’s installation of data and information tracking software on his

  computer. Plaintiff also could not give informed consent to Defendant’s collection of his

  browsing history and the placement of analytics on his computer.

  82)     Thus, Plaintiff has no adequate remedy at law to redress Defendant’s knowing and reckless

  disregard for Plaintiff’s right to exclude others from his computer and determine which programs

  should be installed and operated on his computer.



  WHEREFORE, Plaintiff demands judgment against Defendant for Plaintiff’s damages, interest,

  costs, and such further relief as the Court deems just and equitable.



                                     REQUEST FOR JURY TRIAL



        Plaintiff requests a jury trial.


                                                 Submitted by:


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                                     Mendez Law Offices, PLLC
                                     Attorneys for Plaintiff
                                     P.O. BOX 228630
                                     Miami, Florida 33172
                                     Telephone: 305.264.9090
                                     Facsimile: 1-305.809.8474
                                     Email:info@mendezlawoffices.com
                                     By:            /s/
                                     DIEGO GERMAN MENDEZ, ESQ.
                                     FL BAR NO.: 52748

                                     Adams & Associates, P.A.
                                     Attorneys for Plaintiff
                                     6500 Cowpen Road, Suite 101
                                     Miami Lakes, FL 33014
                                     Telephone: 786-290-1963
                                     Facsimile: 305-824-3868
                                     Email: radamslaw7@gmail.com
                                     By:            /s/
                                     RICHARD J. ADAMS, ESQ.
                                     FL BAR NO.: 770434




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